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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CARLOS URENA,

                                           Petitioner,                18 Civ. 9995 (PAE)
                         -v-                                          11 Cr. 1032-4 (PAE)

 UNITED STATES,
                                                                            ORDER
                                           Respondent.


PAUL A. ENGELMAYER, District Judge:

       The Court has received Mr. Urena’s inquiry of January 4, 2021. Dkt. 33. There are no

updates to report in this case, and Mr. Urena is advised that any development will be reflected on

the public docket.

       The Clerk of Court is respectfully directed to mail this order to Mr. Urena at the address

he has given in his letter at docket 33.



         SO ORDERED.


                                                              PaJA.�
                                                         __________________________________
                                                               PAUL A. ENGELMAYER
                                                               United States District Judge
Dated: January 14, 2021
       New York, New York
